Case 1:21-cv-00721-MAV-JJM Document 38

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

CHRISTIAN POWELL
Plaintiff,
-VS-
CITY OF JAMESTOWN
CITY OF JAMESTOWN CLERK

JAMESTOWN POLICE DEPARTMENT
JAMESTOWN POLICE CHIEF TIMOTHY JACKSON
COUNTY OF CHAUTAUQUA

CHAUTAUQUA COUNTY SHERIFF’S OFFICE
CHAUTAUQUA COUNTY SHERIFF

JAMES B. QUATTRONE

in his individual and official capacity
CHAUTAUQUA COUNTY UNDERSHERIFF
DARRYL W. BRALEY

JOHN DOES 1-10, said names being fictitious

but intended to be any other individual/officers
involved in the within incident and employees of the
CITY OF JAMESTOWN and/or JAMESTOWN

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POLICE DEPARTMENT in their individual and official capacities

JOHN DOES 1-10, said names being fictitious
but intended to be any other individual/officers
involved in the within incident and employees of the

COUNTY OF CHAUTAUQUA and/or CHAUTAUQUA

COUNTY SHERIFF’S OFFICE in their individual and official capacities

Defendants.

NOTICE OF MOTION
NATURE OF ACTION: 42 USC 1983 claims and state torts.
MOVING PARTIES: Plaintiff, CHRISTIAN POWELL

MOTION DIRECTED TO/AGAINST: Defendants

DATE AND TIME: To be determined by the Court.
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PLACE:

SUPPORTING PAPERS:

ANSWERING PAPERS:

REPLY PAPERS:

RELIEF REQUESTED:

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United States District Court for the Western
District of New York, U.S. Courthouse,
2 Niagara Square, Buffalo, NY 14202

Notice of Motion, dated September 15, 2023;
Declaration of Blake Zaccagnino, Esq. dated
September 15, 2023; Memorandum of Law in
Support of Motion by the Plaintiff with Exhibits
seeking an order allowing the Plaintiff to
amend/correct his complaint to identify and
substitute the named officers/employees for the
John Doe Defendants, and also to conform it to this
Court’s Decision and Order (motion to dismiss)
(Dkt. No. 24 dated June 3, 2022)

To be filed and served in accordance with the
Court’s briefing schedule.

Plaintiff intends, if need be, to file and serve reply
papers, in accordance with the Court’s briefing
schedule.

An order pursuant to Rule 15(a), 16(b), and Rule 21
of the Federal Rules of Civil Procedure seeking an
order allowing the Plaintiff to amend/correct his
complaint to identify and substitute the named
officers/employees for the John Doe Defendants,
and also to conform it to the Court’s Decision and
Order (motion to dismiss) (Dkt. No. 24 dated June
3, 2022), upon the grounds detailed within the
accompanying declaration of counsel and
memorandum of law; and, for such other further and
different relief, not consistent herewith, as may be
just, equitable, and proper.
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ORAL ARGUMENT: Only as may be ordered by the Court.

Dated: September 15, 2023
Hamburg, New York

Yours, etc.,

SHAW & SHAW, P.C.

/s/Blake Zaccagnino
Blake Zaccagnino

Attorneys for Plaintiff

Office and Post Office Address
4819 South Park Avenue
Hamburg, NY 14075

(716) 648-3020 Telephone
(716) 648-3730 Fax
Bzaccagnino@shawlawpc.com

To: Elliot Samuel Raimondo, Esq and Mary L. D’ Agostino, Esq.
Corporation Counsel, City of Jamestown
200 E. 3rd. Street
Suite 4
Jamestown, NY 14701
716 969-0359
